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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF MISSOURI


         UNITED STATES OF AMERICA,

                                                  Plaintiff,


                                   V.

                                                                     Docket No. _ _ _ _ __
                                                                              (to be supplied by Cll:!rk)



         Full Name (under which you were convicted)




         Prisoner Number




         Place of Confinem ent ,

                                                 Movant.




          MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT A SENTENCE
                              BY A PERSON IN FEDERAL CUSTODY                 '




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 I.      SUBJECT OF THIS PETITION

         A. Name and location of the court that entered the judgment of conviction that you are challenging



             /J,'S71l/c1             v;: MisS00ft1



         B. Criminal docket or case number         I : I lz C P, - 00 I J tf - SAJ L ,)
         C. Date of the judgment of conviction     _s_-__._1....,r. .-_~____o____l_~-- - - - - - - - - - - - - -
         D. Date of sentencing       S - I S - 1.. 0 l     )'
         E. Length of sentence    _7"'--'o..........m;;....&...,l,ila.Al~l-'-/21---------- - - - - - - - - - - - - -
         F. Nature of crime (all counts) _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ _ __

      G. What was your plea? (Check one)

              D Not guilty         ~ilty           D Insanity plea          D    Nolo contendere (no contest)

            If you entered a guilty plea to one count or charge and a not gu ilty plea to another count or charge, what
            did you plead guilty to and what did you plead not guilty to?




      H. If you went to trial, what kind of trial did you have? (Check one)

              OJury           ~ d g e only

      I.    Did you testify at a pretri~I hearing, trial , or a post-trial hearing?

              Oves            ~
            If yes, state the type(s) of hearing or proceeding



      J. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the
         same court and at the same time?

              Oves


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 SUBJECT OF THIS PETITION - continued

         K. Do you have any future sentence to serve after you complete the sentence for the judgment that you
            are challenging?

              Oves             ~
 II. DIRECT APPEAL OF CONVIQTION

         A. Did you appeal the judgment of conviction?



            If yes, attach the decision(s) that resolved your appeal and answer the following questions :

            1. Name of court of appeals _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            2. Date of filing appeal _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            3. Grounds raised _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




            4. Result---- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

            5. D a t e - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - -
     8. Did you file a petition for certiorari in the United States Supreme Court?

             Oves

           If yes, attach the decision(s) that resolved your petition for certiorari and answer the following
           questions:

           1. Date of filing petition for certiorari _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           2. Grounds raised _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __




           3. R e s u l t - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - -

           4. D a t e - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - - -




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 Ill. POST-CONVICTION RELIEF OTHER THAN DIRECT APPEAL

          A. Other than the appeals listed above in Section II , have you previously filed any other federal petitions ,
             applications, or motions concerning the fede ral judgment that you are now challenging?

               Oves               ~
             If yes, attach the decision(s) that resolved your application for federal post-conviction relief and answer
             the following questions :

             1. Name of court _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _

             2. Docket or case number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             3. Date of filing _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             4. Type of petition , application , or motion filed _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             5. Grounds raised
                                        -----------------------------



             6. Did you receive a hearing where evidence was given on your petition, application, or motion?

                   Oves

             7. Result _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             8. Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             9. Did you appeal your first federal petition, application , or motion to a federal appellate court?

                  Oves                  ~
             10. If you did not appeal, explain why not :

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      B. If you filed a second federal petition, application , or motion, attach the decision and answer the
         following questions :




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 POST-CONVICTION RELIEF OTHER THAN APPEAL - continued

         1. Name of court _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         2. Docket or case number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         3. Date of filing _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         4. Type of petition, application, or motion filed _ __ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _

         5. Grounds raised
                              ----------------------------




         6. Did you receive a hearing where evidence was given on your petition, application, or motion?

               Oves
         7. Result
                     -------------------------------
         8. Date
                   --------------------------------
         9. Did you appeal your second petition , application, or motion to a federal appellate court?

               Oves
         10. If you did not appeal , explain why not:

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     C. If you filed a third federal petition, application , or motion, attach the decision and answer the following
        questions:

         1. Name of court _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         2. Docket or case number _ _ _ __ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ __

         3. Date of fil ing _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         4. Type of petition, application or motion filed _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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 POST-CONVICTION RELIEF OTHER THAN APPEAL - continued

              5. Grounds raised
                                                   ---------------------------



             6. Did you receive a hearing where evidence was given on your petition, application, or motion?

                        Oves
             7. Result
                                 ------------------------------
             8. Date
                              -------------------------------
             9. Did you appeal your third petition, application, or motion to a federal appellate court?

                        Oves
             10. If you did not appeal, explain why not:


                     I                                     . I
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IV. GROUNDS FOR RELIEF

     For this motion, state every ground supporting your claim that you are being held in violation of the
     Constitution , laws, or treaties of the United States. If you fail to do so, you may be prevented from
     presenting additional grounds at a later date.

     Attach additional pages if you have more than four grounds. State the facts supporting each ground.

     Ground One                kJ~j o /J                         j hA- .J-              11 f /           ll1 ;L              t:. f.tn t               Wd- $                  C!,o    uAi#n€_
     A-4 ()                  t h,fJ,,-i-            A//            -h    1
                                                                             frl   ~          IA/           ,Cr; I.J r: 11 ,q. l                       r✓ ~ Id                 CJ Y'S' I'"\. r



     Supporting FACTS (Briefly summarize the facts without citing cases o r law .)

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 GROUNDS FOR RELIEF - continued

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         Ground Two      I       Co J.J ~LA-~         tc-Ai         H-1

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         Supporting FACTS (Briefly summarize the facts wittfuut citing cases-'or law .}

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 GROUNDS FOR RELIEF - continued

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         Ground Three                                              hA   $   /3cf,A      Vi'of1thJ.         A-Aid        1
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         Supporting FACTS (Briefly summarize the facts without citing cases or law .)

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     Ground Four _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     Supporting FACTS (Briefly summarize the facts without citing cases or law .)




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 GRO UNDS FOR RELIEF - continued




 V. REPRESENTATION

         Give the name and address of each attorney who represented you in the following :

         1. At preliminary hearing     S±z:p Jr, 'i jJ (~ \/YL / Sa.}v/
              ~.Q]__J.ALrl.s,p~ Jc .v t ~ .S "1 'tr <. up e Gt i 12.A (Ld~A u,, /'lro t7 lo]
         2.   At arraignment and plea hearing   s+-rp h £0 I C uJL I Sa rA/
              2~ o 7      J A-/ Jc;,;1e.1..,/ df ✓Yt<f.        $,JJ fc c,   CAf! <;,, ct l 1L4J1.,t1;-<1; Mal' 6   "3 ?o .7
     3. At trial
                   -------------------------------

     4. At sentencing       ~-I-£/? /2 C.A./ (            1_,1 {   lso N
              ~go7 I Aide (l<<d.c.A.1,c                    ~-ut'/c c... (_1JP~ G:,'Md,A-u . . No                   11] Zo.]
     5. On direct appeal _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



     6. In any federal post-conviction proceeding
                                                          - - - - - - - - - - - - - -- -----

     7. On appeal from any ruling against you in a federal post-conviction proceeding




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 VI. REQUEST FOR RELIEF

         State exactly what you want the court to do for you.

                                                                      Co /vJ C u fl /l.e j\/.//y
                                                                                                         1 /z&Vc..



 VII. DECLARATION UNDER PENALTY OF PERJURY

         I, the undersigned, hereby declare under penalty of perjury that the foregoing information is true and correct.


         Signed this    5 c;. 1p-1- flt/ lout...                /_7__________ ,20
                                                   day of _ _____                                              2- 0 .



                                                             Signature of Movant




                                                            (Signature of lawyer, if any)


     If you are signing the motion and are not the movant, state your relationship to the movant and explain why
     the movant is not signing this motion .




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  VIII. CERTIFICATE OF INMATE MAILING - Optional

         If you deposit your motion under 28 U.S.C . § 2255 to vacate, set aside , or correct your sentence in your
         prison/institutional/jail mailing system and attach first-class postage pre-paid, and complete and sign this
         statement, you will establish the filing date as the date of deposit in that mailing system .


         I, the undersigned. hereby declare under penalty of perjury that I placed this motion to vacate , set aside or

         correct federal sentence under 28 U.S.C . § 2255 in the prison/institutional/jail mailing system with a prepaid ,

                                                              cpt.___b.><-..,;~~1\...-"""'-_
         first-class postage on _ _5...,_.q.._._p;;.....:..f-....                              _._[_.]_ _   2-_0_l___D_ _____ ___
                                                                                               (m onth , day , year)




         Signed =th=is_..;;.5_$;,__,.JJ"-'}....,......t'Z
                                            I
                                                          b. . t!.......fL
                                                       ......           _ _ day of _     _     _
                                                                                               }   _I___ _ ________ ,         20   2C



                                                                                               Signature of Movant




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